           Case 1:19-cv-00640-LY Document 26 Filed 09/28/20 Page 1 of 4




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

LAURA WONDERCHECK,                               )
                                                 )
                  Plaintiff,                     )
                                                 )
                      v.                         )
                                                 )        Civil Action No. 1:19-cv-00640-LY
MAXIM HEALTHCARE SERVICES,                       )
INC.,                                            )
                                                 )
                 Defendant.                      )

        DEFENDANT MAXIM HEALTHCARE SERVICES, INC.’S UNOPPOSED
         MOTION TO SUPPLEMENT THE SUMMARY JUDGMENT RECORD

       Defendant Maxim Healthcare Services, Inc. moves the Court to supplement the record

with respect to Maxim’s Motion for Summary Judgment [ECF No. 20] and Maxim’s Response

to Plaintiff’s Motion for Partial Summary Judgment [ECF No. 23]. Maxim and Plaintiff Laura

Wondercheck filed summary judgment motions on August 17, 2020.                   Both parties filed

responses on August 31 and filed replies on September 14.

       As Maxim noted in its Motion for Summary Judgment, the read and sign period for the

depositions of former employees Shawn Coffin, Daniel Murphy, Thomas Gillespie, and Jawn

Oilar did not expire until after the deadline to file dispositive motions. See Def.’s Mot. for

Summ. J. 3 n.1. For this reason, Maxim did not have access to the completed certification pages

or the signed errata sheets for these transcripts when Maxim filed its Motion. The read and sign

period has since passed, and the parties have received the final, signed versions of the transcripts.

Therefore, Maxim moves to supplement the existing summary judgment record with the

Reporter’s Certificate for the Oilar deposition transcript, attached hereto as Exhibit A. Maxim

further moves to supplement the existing summary judgment record with the Reporter’s

Certificate and Changes and Signature pages for the Coffin deposition transcript, attached hereto
           Case 1:19-cv-00640-LY Document 26 Filed 09/28/20 Page 2 of 4




as Exhibit B, and the Reporter’s Certification and Changes and Signature pages for the Gillespie

deposition transcript, attached hereto as Exhibit C.



Dated: September 28, 2020                              Respectfully submitted,

                                                       /s/ Lindsay A. Hedrick
                                                       Lindsay A. Hedrick
                                                       Texas State Bar No. 24067655
                                                       Victoria L. Bliss
                                                       Texas State Bar No. 24105479
                                                       JONES DAY
                                                       2727 North Harwood Street
                                                       Dallas, Texas 75201
                                                       Phone: (214) 220-3939
                                                       Fax: (214) 969-5100
                                                       E-mail: lahedrick@jonesday.com
                                                                vbliss@jonesday.com

                                                       Attorneys for Defendant Maxim Healthcare
                                                       Services, Inc.




                                                 2
          Case 1:19-cv-00640-LY Document 26 Filed 09/28/20 Page 3 of 4




                             CERTIFICATE OF CONFERENCE

       Counsel for Maxim has complied with the Court’s meet and confer requirement under

Local Rule CV-7(i).      On September 28, 2020, Maxim’s counsel conferred via email with

Wondercheck’s counsel regarding the request to supplement the summary judgment record.

That same day, Wondercheck’s counsel responded that Wondercheck is not opposed to the relief

sought in this Motion.

                                                 /s/ Lindsay A. Hedrick
                                                 Lindsay A. Hedrick
             Case 1:19-cv-00640-LY Document 26 Filed 09/28/20 Page 4 of 4




                                  CERTIFICATE OF SERVICE

          I hereby certify that on September 28, 2020, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, which will send electronic notice to all counsel of

record.

                                                      /s/ Lindsay A. Hedrick
                                                      Lindsay A. Hedrick
